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8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     GAVIN NEWSOM, In his official capacity as   )      Case No: 3:25-cv-04870-CRB
12   the Governor of the State of California;    )
     STATE OF CALIFORNIA,                        )      EX PARTE APPLICATION OF AMICUS
13                                               )      CURIAE BLUE EAGLE COALITION FOR
                Plaintiffs,                      )      LEAVE TO FILE AMICUS BRIEF
14
                                                 )      ORDER
15          v.                                   )      Date: June 12, 2025
                                                 )      Time: 1:30 p.m.
16                                                      Place: Zoom
     DONALD TRUMP, In his official capacity as )
     the President of the United States; PETE    )
17
     HEGSETH, In his official capacity as        )      The Honorable Charles Breyer
18   Secretary of the Department of Defense; US  )      Senior District Judge
     DEPARTMENT OF DEFENSE,                      )
19                                               )
                Defendants.                      )
20
                                                 )
21   BLUE EAGLE COALITION, an                    )
     unincorporated association,                 )
22                                               )
     Amicus Curiae.                              )
23
                                                 )
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                                                  -1-     EX PARTE APPLICATION OF AMICUS CURIAE
             Case 3:25-cv-04870-CRB              Document 41        Filed 06/12/25     Page 2 of 2


1        In general, a district court has broad discretion to permit the filing of amicus briefs. Hoptowit
2    v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982). “An amicus curiae is not a party to litigation.”
3    Miller-Wohl Co., Inc. v. Comm’r of Labor and Indus., State of Montana, 694 F.2d 203, 204 (9th
4    Cir. 1982) (citing Clark v. Sandusky, 205 F.2d 915, 917 (7th Cir. 1953). Instead, the “classic role”
5    of amicus curiae is “assisting in a case of general public interest, supplementing the efforts of
6    counsel, and drawing the court’s attention to law that escaped consideration.” Id. Because amicus
7    curiae are not a party, they have “no control over the litigation and no right to institute any
8    proceedings in it, nor can [they] file any pleadings or motions in the case.” NGV Gaming, Ltd. v.
9    Upstream Point Molate, LLC, 355 F.Supp.2d 1061, 1068 (N.D. Cal. 2005). It is ”within the
10   Court’s discretion” whether to allow amici to file a brief, and courts generally exercise ”great
11   liberality” in permitting amicus briefs. California by & through Becerra v. United States Dep’t of
12   the Interior, 381 F. Supp. 3d 1153, 1164 (N.D. Cal. 2019) (citation omitted). What is required is
13   a statement of interest and a helpful proposed brief.
14       Here, this is a matter of great public interest– and great private interest. The application to
15   file an amicus brief supporting Defendants on Plaintiffs’ T.R.O. application is made before the
16   filing of Defendants’ opposition, so the amicus curiae does not know whether there will be any
17   repetition or novelty. Defendants have consented to the filing of the amicus brief; Plaintiffs have
18   not. The nature of the interest of the amicus curiae here is multi-fold; this is a small group of
19   California attorneys that seek to uphold Federal law over the Governor’s policy positions for the
20   reasons indicated in the initial meet-and-confer email, the supporting declaration, and the
21   proposed brief. The requirements of an amicus curiae are met here, however small this group is.
22   Accordingly, the amicus curiae seeks leave to file the proposed brief. The only reason the brief is
23                                       DIST
     unsigned is that some minor changes may occur
                                              R in the event developments in the underlying riots
                                      ES         ICT
                                     T                C submission of the application and a
24                                TA
     take any dramatic or rapid, unexpected turns between
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25   decision on whether leave will be granted.
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                             UNIT




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27   Date:   June 11, 2025                          By:
                                                                    yer
                                                            s R. Bre Andrew G. Watters, Esq.
                             NO




                                                 C h a r le
28                                         Judge
                                                                    FO




                                                                     Attorney for Amicus Curiae
     Date: June 12, 2025
                              RT




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                                                                     Blue Eagle Coalition
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                                                            -2-    CEX PARTE APPLICATION OF AMICUS CURIAE
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